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 7   Attorneys for Plaintiff
 8
                                 UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10

11   MICHELLE THOMAS, on behalf of herself and Case No.
     all others similarly situated,
12

13                              Plaintiff,      CLASS ACTION COMPLAINT
            v.
14
     THE PROCTER & GAMBLE COMPANY,              JURY TRIAL DEMANDED
15
                               Defendant.
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     CLASS ACTION COMPLAINT
         Case 1:22-cv-02218-RMI Document 1 Filed 04/08/22 Page 2 of 18




 1          Plaintiff Michelle Thomas (“Plaintiff”), individually and on behalf of all others similarly

 2   situated, alleges the following against Defendant The Procter & Gamble Company (“P&G” or

 3   “Defendant”) on information and belief, except that Plaintiff’s allegations as to her own actions are

 4   based on personal knowledge.

 5                                     NATURE OF THE ACTION

 6          1.      This is a class action against P&G for failing to provide the number of paper towels

 7   promised to Plaintiff and other purchasers of multi-roll Bounty Select-A-Size paper towel packages.

 8   From 2018 through 2021, Defendant engaged in a uniform labeling and marketing campaign

 9   designed to convince consumers that its multi-roll Select-A-Size paper towels, including its Singles

10   Plus Rolls and Super Rolls, amongst others (collectively, the “Products”), contain more paper towels

11   than is the case. Specifically, for each of the Products, customers were informed that the package

12   was equal to a number of “Regular Rolls.” For example, P&G’s Bounty Plus Select-A-Size Singles

13   Plus is marketed as “12 Singles Plus = 18 Regular Rolls.” That information was set out in bold,

14   highlighted in yellow, in the top left corner of the Product’s packaging. At the bottom of the

15   packaging, P&G informed consumers that each Singles Plus Roll consisted of 83 sheets. That would

16   mean that a package of 12 Singles Plus Rolls include 996 sheets of paper towels (i.e. 12 rolls x 83

17   sheets = 996 sheets).

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     CLASS ACTION COMPLAINT                                                                            1
           Case 1:22-cv-02218-RMI Document 1 Filed 04/08/22 Page 3 of 18




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 4           2.    However, P&G misstated the number of sheets consumers were getting per package.

 5   P&G’s website stated that Bounty’s Select-A-Size Regular Rolls consisted of 63 sheets:

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     CLASS ACTION COMPLAINT                                                                    2
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 1          3.      In fact, P&G sold Regular Rolls that consisted of 63 sheet per roll:
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23          4.      Accordingly, 18 Regular Rolls equaled 1,134 sheets (i.e. 18 rolls x 63 sheets = 1,134

24   sheets) not 996 sheets. That meant that consumers were getting only 87.8 percent of what they

25   believed they were purchasing (i.e. 996 sheets ÷ 1,134 sheets = 87.8%). That equaled a shortage of

26   138 sheets or over two “Regular Rolls” of paper towels. P&G has similarly shorted customers on

27   other multi-roll packages of Select-A-Size paper towel products during the class period.

28


     CLASS ACTION COMPLAINT                                                                           3
         Case 1:22-cv-02218-RMI Document 1 Filed 04/08/22 Page 5 of 18




 1
            5.      By short-changing its Select-A-Size multi-roll paper towel packages, P&G has saved
 2
     millions of dollars in the cost of goods sold and was unjustly enriched by taking payment for more
 3
     product than it delivers. For these reasons, Plaintiff asserts claims on behalf of herself and a
 4
     nationwide class of purchasers of P&G’s Select-A-Size paper towels for (i) Breach of Express
 5
     Warranty; (ii) Violation of California’s Consumers Legal Remedies Act, Cal. Civil Code §§ 1750,
 6
     et seq.; (iii) Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et
 7
     seq.; (iv) Violation of California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.;
 8
     (v) Fraud; (vi) Violation of the Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.; (vii)
 9
     Unjust Enrichment.
10
                                                  PARTIES
11
            6.      Plaintiff Michelle Thomas is a resident of Crescent City, California and a citizen of
12
     the State of California. Ms. Thomas purchased multi-roll Bounty Select-A-Size packages of paper
13
     towels multiple times during the Class Period, including in approximately the early spring of 2021
14
     from a brick-and-mortar Walmart located Crescent City. In purchasing the Products, Ms. Thomas
15
     reviewed information about the Product, including the quantity of paper towels purportedly
16
     contained in each package, comparing “Regular Rolls” to oversized rolls described on each package.
17
     Ms. Thomas also reviewed the accompanying labels, disclosures, warranties, and marketing
18
     materials, and understood them as representations and warranties by P&G that the Products contained
19
     the quantities of paper towels advertised. Ms. Thomas relied on these representations and warranties
20
     in deciding to purchase her Products over comparable paper towels, and these representations and
21
     warranties were part of the basis of the bargain, in that she would not have purchased P&G’s multi-
22
     roll Select-A-Size packages of paper towels on the same terms if she had known that she was not, in
23
     fact, receiving the amount of paper towels she for which she bargained.
24
            7.      Plaintiff continues to desire to purchase Bounty Select-A-Size paper towels from
25
     Defendant. However, Plaintiff is unable to determine if the Products have the amount of paper towels
26
     advertised. Plaintiff understands that the composition of the Product may change over time But as
27
     long as Defendant prominently represents the amount of paper towels on the packaging, when those
28


     CLASS ACTION COMPLAINT                                                                            4
            Case 1:22-cv-02218-RMI Document 1 Filed 04/08/22 Page 6 of 18




 1
     Products do not in fact contain that amount of paper towels, then when presented with false or
 2
     misleading information when shopping, she will be unable to make informed decisions about
 3
     whether to purchase Defendant’s Product and will be unable to evaluate the different prices between
 4
     Defendant’s Product and competitor’s Products. Plaintiff is further likely to be repeatedly misled by
 5
     Defendant’s conduct, unless and until Defendant is compelled to ensure that Products marketed,
 6
     labeled, packaged, and advertised as containing a certain number of sheets, do in fact contain that
 7
     number of sheets.
 8
              8.     Defendant The Procter & Gamble Company is an Ohio corporation with its principal
 9
     place of business located in Cincinnati, Ohio. P&G describes itself as “the world’s largest consumer
10
     goods company[.]” Indeed, P&G reported fiscal year 2021 net sales of $14.035 billion, an increase
11
     of nearly 10 percent versus the prior year.
12
              9.     Whenever reference is made in this Complaint to any representation, act, omission,
13
     or transaction of P&G, that allegation shall mean that P&G did the act, omission, or transaction
14
     through its officers, directors, employees, agents, and/or representatives while they were acting
15
     within the actual or ostensible scope of their authority.
16
                                        JURISDICTION AND VENUE
17
              10.    This Court has subject matter jurisdiction over this action pursuant to the Class Action
18
     Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28 U.S.C. §
19
     1332, at new subsection (d), conferring federal jurisdiction over class actions where, as here: (a)
20
     there are 100 or more members in the proposed classes; (b) some members of the proposed classes
21
     have a different citizenship from Defendant; and (c) the claims of the proposed class members exceed
22
     the sum or value of five million dollars ($5,000,000) in aggregate. See 28 U.S.C. § 1332(d)(2) and
23
     (6).
24
              11.    Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant transacts
25
     significant business within this District, Plaintiff resides within this District, and a substantial part of
26
     the events giving rise to Plaintiff’s claims took place within this District.
27
     ///
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     CLASS ACTION COMPLAINT                                                                                   5
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 1
                           FACTS COMMON TO ALL CAUSES OF ACTION
 2
             12.        P&G’s false and deceptive advertising, packaging, and labeling applied to each of
 3
     the Product’s packages of multi-roll Select-A-Size paper towels, which are each substantially similar,
 4
     consisting of a bright green base, a prominent yellow banner with bolded “Regular Roll”
 5
     representations, each leading to an almost identical injury in which consumers received fewer paper
 6
     towels then what they believed they were purchasing.
 7
             13.    As discussed above, P&G’s Bounty Select-A-Size Singles Plus was packaged and
 8
     labeled as “12 Rolls = 18 Regular Rolls.” That information was set out in bold, highlighted in yellow,
 9
     and occupied a significant percentage of the Product’s packaging. At the bottom of the packaging,
10
     P&G informed consumers that each Singles Plus Roll consists of 83 sheets. That would mean that a
11
     package of 12 Singles Plus Rolls equaled 996 sheets (i.e. 12 rolls x 83 sheets = 996 sheets).
12
             14.    As P&G admitted on its website, however, a Regular Roll consisted of 63 sheets
13
     during the class period. Thus, 18 Regular Rolls included 1,134 sheets (i.e. 18 rolls x 63 sheets =
14
     1,134 sheets). That meant that consumers were getting only 87.8 percent of what they believed they
15
     were purchasing (i.e. 996 sheets ÷ 1,134 sheets = 87.8%). That equaled a shortage of 138 sheets or
16
     over two “Regular Rolls” of paper towels.
17
             15.    Similarly, during the class period, P&G manufactured and sold Bounty Select-A-Size
18
     Super Rolls package that was labeled as “12 Rolls = 22 Regular Rolls.” That information was set
19
     out in bold, highlighted in yellow, and occupied a significant percentage of the Product’s packaging.
20
     At the bottom of the packaging, P&G informed consumers that each Singles Plus Roll consists of
21
     101 sheets. That would mean that a package of 12 Bounty Select-A-Size Super Rolls equaled 1,212
22
     sheets (i.e. 12 rolls x 101 sheets = 1,212 sheets).
23

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     CLASS ACTION COMPLAINT                                                                             6
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            16.     As P&G admitted on its website, however, a Regular Roll consisted of 63 sheets
16
     during the class period. Thus, 22 Regular Rolls included 1,386 sheets (i.e. 22 rolls x 63 sheets =
17
     1,386 sheets). That meant that consumers were getting only 87.4 percent of what they believed they
18
     were purchasing (i.e. 1,212 sheets ÷ 1,386 sheets = 87.4%). That equaled a shortage of 138 sheets
19
     or over two “Regular Rolls” of paper towels. P&G has also shorted customers on other similar
20
     Select-A-Size paper towel packages during the class period.
21
                                     CLASS ACTION ALLEGATIONS
22
            17.     Plaintiff seeks to represent a class defined as all persons in the United States who
23
     purchased the Products (the “Class”) from 2018 through 2021. Excluded from the Class are persons
24
     who made such purchases for purpose of resale. Plaintiff reserves the right amend the above class
25
     definition as appropriate after further investigation and discovery, including by seeking to certify a
26
     narrower multi-state class (or classes) in lieu of a nationwide class if appropriate.
27

28


     CLASS ACTION COMPLAINT                                                                             7
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 1
             18.      Plaintiff also seek to represent a Subclass of all Class Members who purchased the
 2
     Products in California (the “Subclass”).
 3
             19.      At this time, Plaintiff does not know the exact number of members of the Class;
 4
     however, given the nature of the claims and the number of retail stores in the United States selling
 5
     the Products, Plaintiff believes that the Class members are so numerous that joinder of all members
 6
     is impracticable.
 7
             20.      There is a well-defined community of interest in the questions of law and fact
 8
     involved in this case. Questions of law and fact common to the members of the Class and Subclass
 9
     that predominate over questions that may affect individual Class members include:
10
                   a. whether Defendant has shortchanged the number of paper towels in the Products;
11
                   b. whether Defendant warranted that the Products contained a specific measurement for
12
                      each size;
13
                   c. whether Defendant breached these warranties;
14
                   d. whether Defendant committed statutory and common law fraud by doing so;
15
                   e. whether Defendant’s conduct was unethical, oppressive, unscrupulous, and/or
16
                      substantially injurious to consumers;
17
                   f. whether Defendant’s conduct was unfair and/or deceptive;
18
                   g. whether Defendant was unjustly enriched as a result of the unlawful, fraudulent, and
19
                      unfair conduct alleged in this Complaint such that it would be inequitable for
20
                      Defendant to retain the benefits conferred upon Defendant by Plaintiff and the Class
21
                      members;
22
                   h. whether Plaintiff and the Class members sustained damages with respect to the
23
                      common-law claims asserted, and if so, the proper measure of their damages.
24
             21.      Plaintiff’s claims are typical of those of the Class members because Plaintiff, like
25
     other Class members, purchased, in a typical consumer setting, the Products and Plaintiff sustained
26
     damages from Defendant’s wrongful conduct.
27
     ///
28


     CLASS ACTION COMPLAINT                                                                            8
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 1
              22.     Plaintiff will fairly and adequately protect the interests of the Class members and have
 2
      retained counsel that is experienced in litigating complex class actions. Plaintiff has no interests
 3
      which conflict with those of the Class or the Subclass.
 4
              23.     A class action is superior to other available methods for the fair and efficient
 5
      adjudication of this controversy.
 6
              24.     The prerequisites to maintaining a class action for equitable relief are met as
 7
      Defendant has acted or refused to act on grounds generally applicable to the Class and the Subclass,
 8
      thereby making appropriate equitable relief with respect to the Class and the Subclass as a whole.
 9
              25.     The prosecution of separate actions by members of the Class and the Subclass would
10
      create a risk of establishing inconsistent rulings and/or incompatible standards of conduct for
11
      Defendant. Additionally, individual actions could be dispositive of the interests of the Class and the
12
      Subclass even where certain Class members are not parties to such actions.
13
                                              CAUSES OF ACTION
14
                                               FIRST COUNT
15                                        Breach of Express Warranty

16            26.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as if
17    fully stated herein.
18            27.     Plaintiff brings this claim individually and on behalf of the Class and Subclass
19   members.
20            28.     Defendant, as the designer, manufacturer, marketer, distributor, and/or seller,
21   expressly warranted that the Products contained a certain number of sheets of paper towels when they
22   did not. For instance, Defendant asserted that 12 Singles Plus Rolls equaled 18 Regular Rolls when
23   in fact they were short 138 sheets or two “Regular Rolls” of paper towels.
24            29.     As a direct and proximate cause of Defendant’s breach of express warranty, Plaintiff
25   and Class and Subclass members have been injured and harmed because: (a) they would not have
26   purchased the Products on the same terms if the true facts were known concerning the Products’
27   quantity; and (b) the Products did not have the characteristics, uses, benefits, or quantities as promised.
28


      CLASS ACTION COMPLAINT                                                                                 9
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 1
             30.     Plaintiff and the Class and Subclass members are entitled to equitable relief,
 2
     restitution, and an order for the disgorgement of funds by which Defendant was unjustly enriched.
 3
             31.     Plaintiff’s counsel sent Defendant a letter apprising Defendant of its breach of
 4
     warranties on or about July 21, 2021. Defendant failed to adequately address Plaintiff’s concerns.
 5
     This suit follows.
 6
                                             SECOND COUNT
 7                        Violation of California’s Consumers Legal Remedies Act
                                    California Civil Code §§ 1750, et seq.
 8
             32.     Plaintiff incorporates by reference the allegations contained in all preceding
 9
     paragraphs of this Complaint.
10
             33.     Plaintiff brings this claim individually and on behalf of the Subclass members.
11
             34.     California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1770(a)(5), prohibits
12
     “representing that goods or services have sponsorship, approval, characteristics, ingredients, uses,
13
     benefits, or quantities which they do not have or that a person has a sponsorship, approval, status,
14
     affiliation, or connection where he or she does not have.”
15
             35.     California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1770(a)(9), prohibits
16
     “[a]dvertising goods or services with intent not to sell them as advertised.”
17
             36.     Defendant violated this provision by misrepresenting that the Products contained a
18
     certain number of sheets of paper towels when they did not.
19
             37.     Plaintiff and the Subclass members suffered injuries caused by Defendant because:
20
     (a) they would not have purchased the Products on the same terms if the true facts were known
21
     concerning the Products’ quantity; and (b) Defendant’s Products did not have the characteristics, uses,
22
     benefits, or quantities as promised.
23
             38.     On or about July 21, 2021, prior to filing this action, a CLRA notice letter was served
24
     on Defendant which complies with California Civil Code § 1782(a).                Plaintiff’s counsel sent
25
     Defendant a letter via certified mail, return receipt requested, advising Defendant that it is in violation
26
     of the CLRA and demanding that it cease and desist from such violations and make full restitution by
27

28


      CLASS ACTION COMPLAINT                                                                                10
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 1
     refunding the monies received therefrom. This letter was sent on behalf of “all similarly situated
 2
     purchasers of Bounty Select-A-Size Paper Towels.”
 3
              39.      Wherefore, Plaintiff seeks damages and restitution for this violation of the CLRA.
 4
                                                THIRD COUNT
 5                            Violation Of California’s Unfair Competition Law,
                            California Business & Professions Code §§ 17200, et seq.
 6
              40.      Plaintiff incorporates by reference the allegations contained in all preceding
 7
     paragraphs of this Complaint.
 8
              41.      Plaintiff brings this claim individually and on behalf of the Subclass against
 9
     Defendant.
10
              42.      Defendant is subject to California’s Unfair Competition Law, Cal. Bus. & Prof. Code
11
     §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition shall mean and include
12
     unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or misleading
13
     advertising . . . .”
14
              43.      Defendant’s misrepresentations and other conduct, described herein, violated the
15
     “unlawful” prong of the UCL by violating the CLRA as described herein; California’s False
16
     Advertising Law as described herein; and Cal. Com. Code § 2607.
17
              44.      Defendant’s misrepresentations and other conduct, described herein, violated the
18
     “unfair” prong of the UCL in that its conduct is substantially injurious to consumers, offends public
19
     policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity of the conduct
20
     outweighs any alleged benefits.
21
              45.      Defendant violated the “fraudulent” prong of the UCL by making misrepresentations
22
     about the Products, as described herein.
23
              46.      Plaintiff and the Subclass lost money or property as a result of Defendant’s UCL
24
     violations because: (a) they would not have purchased Defendant’s Products on the same terms if the
25
     true facts were known concerning the Products’ quantities; and (b) Defendant’s Products did not have
26
     the characteristics, uses, benefits, or quantities as promised.
27

28


      CLASS ACTION COMPLAINT                                                                           11
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 1
              47.    As a result of Defendant’s conduct, Plaintiff seeks restitution and disgorgement under
 2
     California Business & Professions Code §17203.
 3
                                            FOURTH COUNT
 4                            Violation of California’s False Advertising Law,
                          California Business & Professions Code §§ 17500, et seq.
 5
              48.    Plaintiff incorporates by reference the allegations contained in all preceding
 6
     paragraphs of this Complaint.
 7
              49.    Plaintiff brings this claim individually and on behalf of the Subclass against
 8
     Defendant.
 9
              50.    California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq., makes
10
     it “unlawful for any person to make or disseminate or causes to be made or disseminated before the
11
     public in this state, . . . in any advertising device . . . or in any other matter or means whatever,
12
     including over the Internet, any statement, concerning . . . personal property or services, professional
13
     or otherwise, or performance or disposition thereof, which is untrue or misleading and which is
14
     known, or which by the exercise of reasonable care should be known, to be untrue or misleading.”
15
              51.    Defendant committed acts of false advertising, as defined by § 17500, by
16
     misrepresenting that the Products contained a certain number of sheets of paper towels when they did
17
     not.
18
              52.    Defendant knew or should have known, through the exercise of reasonable care that
19
     its representations about the Products were untrue and misleading.
20
              53.    Defendant’s actions in violation of § 17500 were false and misleading such that the
21
     general public is and was likely to be deceived.
22
              54.    Plaintiff and the Subclass members lost money or property as a result of Defendant’s
23
     FAL violations because: (a) they would not have purchased Defendant’s Products on the same terms
24
     if the true facts were known concerning the Products’ quantities; and (b) Defendant’s Products did
25
     not have the characteristics, uses, benefits, or quantities as promised.
26
              55.    Accordingly, Plaintiff and the Subclass members seek all monetary and non-monetary
27
     relief allowed by law, including restitution of profits stemming from Defendant’s unfair, unlawful,
28


     CLASS ACTION COMPLAINT                                                                              12
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 1
     and fraudulent business practices; reasonable attorneys’ fees and costs under California Code of Civil
 2
     Procedure § 1021.5; and other appropriate and equitable relief.
 3
                                               FIFTH COUNT
 4                                                 Fraud
 5            56.    Plaintiff incorporates by reference the allegations contained in all preceding

 6   paragraphs of this Complaint.

 7            57.    Plaintiff brings this claim individually on behalf of the Class and Subclass members

 8   against Defendant.

 9            58.    As discussed above, Defendant provided Plaintiff and Class members with false or

10   misleading material information and failed to disclose material facts about the Products including

11   misrepresenting that the Products contained a certain number of sheets of paper towels when they did

12   not.

13            59.    The misrepresentations and omissions made by Defendant, upon which Plaintiff and

14   Class members reasonably and justifiably relied, were intended to induce and actually induced

15   Plaintiff and the Class and Subclass members to purchase the Products.

16            60.    The fraudulent actions of Defendant caused damage to Plaintiff and Class and

17   Subclass members, who are entitled to damages and other legal and equitable relief as a result.

18                                             SIXTH COUNT
                              Violation of the Magnuson-Moss Warranty Act,
19                                        15 U.S.C. §§ 2301, et seq.
20            61.    Plaintiff incorporates by reference the allegations contained in all preceding
21   paragraphs of this Complaint.
22            62.    Plaintiff brings this claim individually and on behalf of the Class and Subclass
23   members against Defendant.
24            63.    The Products are consumer products as defined in 15 U.S.C. § 2301(1).
25            64.    Plaintiff and the Class and Subclass members are consumers as defined in 15 U.S.C.
26   § 2301(3).
27            65.    Defendant is a supplier and warrantor as defined in 15 U.S.C. § 2301(4) and (5).
28


     CLASS ACTION COMPLAINT                                                                             13
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 1
             66.     Defendant expressly warranted that its “Regular Rolls” contained 63 sheets per
 2
     Regular Roll.
 3
             67.     In fact, Defendant’s Products are not fit for such purposes because this express
 4
     warranty is false. The Products are significantly short-changed.
 5
             68.     As a direct and proximate cause of Defendant’s breach of express warranty, Plaintiff
 6
     and Class and Subclass members have been injured and harmed because: (a) they would not have
 7
     purchased the Products on the same terms if the true facts were known concerning the Products’
 8
     quantity; and (b) the Products did not have the characteristics, uses, benefits, or quantities as promised.
 9
             69.     By reason of Defendant’s breach of express warranty, Defendant violated the
10
     statutory rights due to Plaintiff and the Class and Subclass members pursuant to the Magnuson-Moss
11
     Warranty Act, 15 U.S.C. §§ 2301, et seq., thereby damaging Plaintiff and the Class and Subclass
12
     members.
13
             70.     Plaintiff and the Class and Subclass members were injured as a direct and proximate
14
     result of Defendant’s breaches because they would not have purchased the Products or would not have
15
     purchased the Products on the same terms if they true facts had been known.
16
             71.     Plaintiff and the Class and Subclass members are entitled to equitable relief,
17
     restitution, and an order for the disgorgement of funds by which Defendant was unjustly enriched.
18
             72.     Plaintiff’s counsel sent Defendant a letter apprising Defendant of its breach of
19
     warranties on or about July 21, 2021. Defendant failed to adequately address Plaintiff’s concerns.
20
     This suit follows.
21
                                               SEVENTH COUNT
22                                             Unjust Enrichment
23           73.     Plaintiff incorporates by reference the allegations contained in all preceding

24   paragraphs of this Complaint.

25           74.     Plaintiff brings this claim in the alternative to her claims at law, individually and on

26   behalf of the Class and Subclass members against Defendant.

27           75.     As a result of Defendant’s unlawful and misleading labeling, marketing, and sale of

28   the Products, Defendant was enriched at the expense of Plaintiff and the Class and Subclass.


      CLASS ACTION COMPLAINT                                                                                14
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 1
             76.      Defendant sold Products that were not as advertised.
 2
             77.      Plaintiff and the Class and Subclass members paid a price premium for the Products.
 3
             78.      Thus, it is against equity and good conscience to permit Defendant to retain the ill-
 4
     gotten benefits received from Plaintiff and the Class and Subclass members given that the Products
 5
     were not as Defendant purported them to be.
 6
             79.      It would be unjust and inequitable for Defendant to retain the benefit, warranting
 7
     restitutionary disgorgement to Plaintiff and Class and Subclass members of the monies paid for the
 8
     Products.
 9
             80.      As a direct and proximate result of Defendant’s actions, Plaintiff and Class members
10
     have suffered in an amount to be proven at trial.
11
                                            PRAYER FOR RELIEF
12
             WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all members
13
     of the proposed classes the following relief against Defendant:
14
                   a. That the Court certify the Class and Subclass under Rule 23 of the Federal Rules of
15
                      Civil Procedure and appoint Plaintiff as Class Representative and her attorneys as
16
                      Class Counsel to represent the members of the Class and Subclass;
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                   b. That the Court declare that Defendant’s conduct violates the statutes referenced
18
                      herein;
19
                   c. That the Court order Defendant to implement whatever measures are necessary to
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                      remedy the unlawful, unfair, or fraudulent business acts or practices, untrue and
21
                      misleading advertising, and other violations of law described in this Complaint;
22
                   d. That the Court order Defendant to notify each and every individual and/or business
23
                      who purchased the Products of the pendency of the claims in this action to give such
24
                      individuals and businesses an opportunity to obtain restitution from Defendant;
25
                   e. That the Court grant Plaintiff’s reasonable attorneys’ fees and costs of suit pursuant
26
                      to California Code of Civil Procedure §1021.5, California Civil Code §1780(d), the
27
                      common fund doctrine, and/or any other appropriate legal theory; and
28


     CLASS ACTION COMPLAINT                                                                              15
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 1
                 f. That the Court grant such other and further relief as may be just and proper.
 2
                                         DEMAND FOR JURY TRIAL
 3
             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any
 4
     and all issues in this action so triable of right.
 5

 6
     Dated: April 8, 2022                             Respectfully submitted,
 7
                                                      BURSOR & FISHER, P.A.
 8
                                                      By:    /s/ L. Timothy Fisher
 9                                                              L. Timothy Fisher
10                                                    L. Timothy Fisher (State Bar No. 191626)
                                                      Brittany S. Scott (State Bar No. 327132)
11                                                    Sean L. Litteral (State Bar No. 331985)
                                                      1990 North California Blvd., Suite 940
12                                                    Walnut Creek, CA 94596
                                                      Telephone: (925) 300-4455
13                                                    Facsimile: (925) 407-2700
                                                      E-Mail: ltfisher@bursor.com
14                                                             bscott@bursor.com
                                                               slitteral@bursor.com
15
                                                      Attorneys for Plaintiff
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     CLASS ACTION COMPLAINT                                                                           16
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 1
              CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2
            I, L. Timothy Fisher, declare as follows:
 3
            1.      I am an attorney at law licensed to practice in the State of California and a member
 4
     of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiff
 5
     Michelle Thomas in this action. Ms. Thomas is a resident of Crescent City, California.            I have
 6
     personal knowledge of the facts set forth in this declaration and, if called as a witness, I could and
 7
     would competently testify thereto under oath.
 8
            2.      The Complaint filed in this action is filed in the proper place for trial under Civil Code
 9
     Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in the
10
     Northern District of California.
11
            I declare under the penalty of perjury under the laws of the State of California and the United
12
     States that the foregoing is true and correct and that this declaration was executed at Walnut Creek,
13
     California this 8th day of April 2022.
14

15                                                           /s/ L. Timothy Fisher
                                                                 L. Timothy Fisher
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     CLASS ACTION COMPLAINT                                                                               17
